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                            LOCAL BANKRUPTCY FORM 9014-3
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Tina Strack
                                  Debtor(s)                                           CHAPTER 13

PENNSYLVANIA HOUSING FINANCE AGENCY
                      Movant
          vs.
                                                                                  NO. 22-11037 PMM
Tina Strack
                                  Debtor(s)

Kenneth E. West
                                  Trustee                                         11 U.S.C. Section 362

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE


         PENNSYLVANIA HOUSING FINANCE AGENCY has filed a Motion for Relief from Stay, with
 the court for Relief from the Automatic Stay of Section 362.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

        1.       If you do not want the court to grant the relief sought in the motion, then on or before June 5,
 2024 you or your attorney must do all of the following:
                 (a)     file an answer explaining your position at:
                                  United States Bankruptcy Court
                                    Robert N.C. Nix Building
                                  900 Market Street, Suite 400
                                  Philadelphia, PA 19107-4299

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to movant's attorney:
                                    Bankruptcy Group
                                    KML Law Group, P.C.
                                    Suite 5000 - BNY Mellon Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

         3.       A hearing on the motion is scheduled to be held before the Honorable Patricia M. Mayer, the
 United States Bankruptcy Judge, in Courtroom 1 at the United States Bankruptcy Court, Robert N.C. Nix
 Building, 900 Market Street, Suite 400, Philadelphia, Pa. 19107-4299 on July 10, 2024, at 1:00 PM, or as
 soon thereafter as counsel can be heard, to consider the motion.

          4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
 request a copy from the attorney named in paragraph 1(b).
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        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.

                                                   /s/ Michael P. Farrington
                                                    Michael P. Farrington, Esquire
                                                   Attorney I.D. No. 329636
                                                   KML Law Group, P.C.
                                                   BNY Mellon Independence Center 701 Market
                                                   Street, Suite 5000
                                                   Philadelphia, PA 19106
                                                   215-627-1322
                                                   mfarrington@kmllawgroup.com

                                                   Attorneys for Movant/Applicant

May 22, 2024
